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AO 91 (Rev.        ) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Eastern District of Michigan

United States of America
   v.
David Verner                                                                Case No.        Case: 2:24-mj-30540
                                                                                            Judge: Unassigned,
                                                                                             Filed: 12-20-2024
                                                                                            CMP USA V. DAVID VERNER (DA)




                                                      CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of          2-16-24, 2-22-24, 3-2-24, 3-7-24        in the county of          Washtenaw     in the
         Eastern           District of       Michigan         , the defendant(s) violated:
                    Code Section                                            Offense Description
18 U.S.C. § 875(b)                                        Interstate threats
18 U.S.C. § 2261A(2)(B)                                   Online stalking
18 U.S.C. § 1791(a)(2) & (b)(4)                           Possessing contraband in prisoner, namely a cellular phone




           This criminal complaint is based on these facts:
see attached affidavit.




        Continued on the attached sheet.
                                                                                               Complainant’s signature

                                                                                  Adam Christensen, Special Agent (FBI)
                                                                                                Printed name and title
Sworn to before me and signed in my presence


            December 20, 2024
Date:                                                                                             Judge’s signature

City and state: Detroit, Michigan                                       Hon. Elizabeth A. Stafford, United States Magistrate Judge
                                                                                                Printed name and title
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  AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A CRIMINAL
           COMPLAINT AND AN ARREST WARRANT

      I, Adam Christensen, a Special Agent with the Federal Bureau of Investigation

(FBI), being duly sworn, depose and state as follows:

                                 INTRODUCTION

      1.     I have been employed as a Special Agent of the FBI since 2010 and

am currently assigned to the Detroit Division. While employed by the FBI, I have

investigated federal criminal violations including cyber crimes, particularly online

sexual exploitation of children, drug trafficking violations, violations related to

national security and others. Since January 2023, I have been assigned as the FBI’s

pri mary investigator of federal crimes that occur at the Bureau of Prisons Federal

Correctional Institution, Milan (FCI Milan) in Milan, Michigan. I have conducted

over 30 investigations at FCI Milan since that time. Moreover, I am a federal law

enforcement officer who is engaged in enforcing criminal laws, including 18

U.S.C. § 1791. I am authorized by law to request an arrest warrant.

      2.     This affidavit is submitted in support of an application for a criminal

complaint and arrest warrant for David VERNER for violations of 18 U.S.C. §

875(b), threatening interstate communications, 18 U.S.C. § 2261A(2)(B), online

stalking, and 18 U.S.C. §§ 1791(a)(2) & (b)(4), possessing contraband in prison

(Target Offenses).



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      3.     The statements contained in this affidavit are based in part on

information provided by U.S. law enforcement and corrections officers, written

reports about this and other investigations that I have received, directly or

indirectly, from other law enforcement and corrections agents, information

gathered from investigative sources of information, and my experience, training,

and background as a Special Agent.

      4.     This affidavit is submitted for the limited purpose of securing an

arrest warrant. I have not included each and every fact known to me concerning

this investigation. Instead, I have set forth only the facts that I believe are

necessary to establish probable cause that VERNER has committed violations of

the Target Offenses.

                                PROBABLE CAUSE

      5.     On February 15, 2024, Victim 1, an inmate at FCI Milan, approached

FCI Milan staff and requested protective custody. Victim 1 said that he owed

$3,500 to David VERNER stemming from activity prior to his incarceration and

could no longer make payments. Victim 1 said that VERNER had received this

debt from another inmate.

      6.     According to BOP records, VERNER and Victim 1 were in the same

housing unit for more than one month in 2024.




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      7.     According to Victim 1, VERNER became aware that Victim 1 was

serving time for white collar offenses and wanted Victim 1, through his family, to

create fraudulent checks for VERNER and his associates. VERNER contacted

another inmate who lived in the same hometown as Victim 1 to get personal

information on Victim 1. VERNER then planned to extort Victim 1 and his family

to force them to either pay back the debt or participate in the fraudulent check

scheme.

      8.     On March 20, 2024, family members of Victim 1 contacted FCI Milan

staff. These family members—Victim 2 and Victim 3—provided investigators

with communications over text message and social media that appear to be from

David VERNER. The initial messages are from a Facebook Messenger account

with a display name “David Verner.” The profile photo shows a group of people,

including one who appears to match the photograph of VERNER provided by FCI

Milan.

      9.     The initial message from the “David Verner” account, sent on or

about February 16, 2024, states, “What’s up [Victim 2] I’m locked up with [Victim

1],, I’m the one that was sending u cash apps.. [Victim 1] checked up the hole he

olds me 3,000.. he supposed to had it cashapped to me yesterday.” The user of the

account responds that she was not Victim 2, but was Victim 3, and that Victim 2

had been sent to jail. The “David Verner” account then states, “I come home soon


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so it’s all good I told him before I gave him my money that I was the wrong one to

play with. it’s all good.”

      10.    After a couple of exchanges, the “David Verner” account asks for the

phone number of Victim 2. When Victim 3 asks why, VERNER replies, “[Victim

2] trust me I come home April 12th.. it’s a dude in here from where y’all from that

knows u & [Victim 1] & u know who that is.” Victim 3 responds, “This isn’t

[Victim 2]. This is [Victim 3].” Verner then responds, “I just want my money

please don’t turn this into something else this is my last inbox; Dude just came to

me saying u was supposed to send it to him & he’s gonna pay me I told him ima

get up with u don’t get shit for me.” Eventually VERNER again asks for Victim

2’s phone number, and Victim 3 responds that they are not Victim 2.

      11.    During the conversation, Victim 3 asked VERNER to send an image

of himself; in response, Victim 3 received two images that depict VERNER, one

with another male, and one holding a stack of cash.

      12.    Victim 2 also provided screenshots of text messages from VERNER

to Victim 3. The text messages start on or about February 17, 2024, and are from

telephone number 734-219-1801. In those messages, the person texting, believed to

be VERNER, initially indicates that Victim 1 told VERNER that Victim 1 has

$100,000 in his parents’ attic. Victim 3 responds that she doesn’t know why

Victim 1 would say that and that Victim 1 is “tripping.”


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      13.   A second set of text messages provided by Victim 2 were from

telephone number 602-293-7693 and start on or about February 22, 2024. On that

date, the following conversation was observed:

            7693: What’s up u still haven’t heard from [Victim 2]

            Victim 3: yeah [Victim 2]’s not getting out for a while

            7693: If not his mother & father needs to know he olds that money

            can my people tried of waiting & there ready to do something to him

            7693: Cause

            7693: I told them to hold off

            7963: But something needs to come through

            7693: The cash app is $virgina verner [Investigator’s note: Virginia

            Verner is listed as a “sibling” in VERNER’s BOP records]

            7693: So tell them aint’ nothing happening??

            Victim 3: I honestly doubt they even have the money ngl

            Victim 3: i'll let them know though

            7693: Let him tell it they do

            7693: Can u see what they say right quick

            Victim 3: yeha hold on

            7693: I can’t be on this phone long what’s up

            Victim 3: they both said they don’t have it
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            7693: Well just to let you know shit but to get real I got addresses the

            whole 9 but ok

            Victim 3: address of who?

            7693: Everyone he’s associated with

            7693: U don’t just take money from people Especially important

            people

            7693: U want me to text them to u??

            Victim 3: yeah

There is a break in communication until February 26, 2024:

            7693: What’s up with my money

            Victim 3: we don’t have it

            7693: Send me a pic of that pussy I know it’s petty like you

            Victim 3: that’s honestly between you and [Victim 1] we know

            nothing about it

            7693: U don’t love [Victim 1]??

            Victim 3: i love [Victim 1] but don’t have that kind of money not even

            close

            7693: Well [Victim 1] is honestly about to get fucked up

            Victim 3: just don’t kill jim honestly this is his mess

            Victim 3: him*^
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          7693: Let me see that pussy

          Victim 3: this is harassment please leave me alone i really don’t have

          money and don’t know what [Victim 1] did with it but this is between

          you and him have a nice day.

          7693: Ima show you ass more then harassment I’ll be home soon y’all

          taken this shit for a joke bitch u have know clue who y’all fucking

          with but y’all will see

          Victim 3: I have nothing to do with this first of all

          Victim 3: [Victim 1] owes you money not me

          Victim 3: i'm honestly in the dark on everything i only know what you

          have told me and i have been honest with you unlike [Victim 1]

          7693: Since he played games every mf close to him gonna feel it

          7693: He said his Parents will pay it.

          Victim 3: his parent’s don’t have that kind of money though

          7693: That’s the word he sent out the shu

          Victim 3: well that’s news to me cause last time i checked they don’t

          have that kind of money

          7693: I need to start getting some type of payments

          Victim 3: well you better send word back to him in the shu and tell

          him that not us cause [redacted] i don’t have that kind of money and

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              [Victim 2] is in jail so she’s no help

              7693: He knows who I am and what I’m capable of that’s why I don’t

              see why he playing with me like it’s sweet

              Victim 3: I don’t know why either you seem to be about business

              7693: Well I come home me & u gonna do some business

              Victim 3: i don’t want any parts of this i’m good

              7693: it’s not this

              Victim 3: what is it?

              7693: Ima suck that pussy & fuck on u while taking care of u

              Victim 3: I’m good thanks though

              7693: Just think about it ima hit u later


      14.     The next text message was sent on March 2, 2024 stating, “Ok bitch

I’m tried of playing.” On March 7, 2024, the user of 7693 says, “I got a kite from

[Victim 1] to day.” Victim 3 asks, “what did it say?” The user of 7693 responds,

“He said he haven’t talked to you & I know that’s a lie cause he asked me to please

stop Threatening you.” He then says, “I’m just tying to see what happened.”

      15.     Based on this and other information, Victim 1 was placed in

protective custody by FCI Milan and VERNER was placed in the Special Housing

Unit (SHU).


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      16.    The Facebook account which sent the initial messages to Victim 3 has

the vanity name: david.verner3. On June 12, 2024, in response to a search warrant,

Meta Platforms provided information about this account. The information provided

by Meta Platforms shows that this account was been logged into by an iPhone SE

(2020). The search warrant return also contained communications between

VERNER and Victim 3 that were consistent with the screenshots provided to

investigators and set forth above in paragraphs 9-10.

      17.    Investigators obtained call detail records from T-Mobile for the phone

numbers 734-219-1801 and 602-293-7693 which were used to contact Victim 3.

The records show that both phones were in the area of FCI Milan when VERNER

sent the text messages shown in paragraph 13. The records also show that many of

the phone numbers that VERNER listed as his phone contacts on BOP records

were contacted by these two phone numbers. For instance, a phone number listed

as being a sibling of Verner had 19 toll records (texts or calls) with 734-219-1801

and three with 602-293-7693.

      18.    On October 7, 2024, investigators spoke with Victim 3 regarding her

interactions with VERNER. In addition to recalling the above-described

conversations with VERNER on Facebook Messenger and via text messages, she

also stated that VERNER video called her from FCI Milan. She could not see his

full face, but stated that he was a fat black man, which matches the general


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description of VERNER. Victim 3 also provided consent to search her cellular

phone and the text messages described above were found to still be on her phone.


                                  CONCLUSION

      19.    Based on the foregoing, there is probable cause to believe that David

Verner, has sent threatening communications interstate, in violation of Title 18

U.S.C. § 875(b), has conducted online stalking, in violation of Title 18 U.S.C. §

2261A(2)(B), and has possessed contraband, namely a mobile phone, in prison, in

violation of Title 18 U.S.C. § 1791(a)(2) & (b)(4).

                                              Respectfully submitted,



                                              Adam Christensen, Special Agent
                                              Federal Bureau of Investigation

Sworn to before me and signed in my presence
and/or by reliable electronic means.



Honorable Elizabeth A. Stafford
United States Magistrate Judge

Date: December 19, 2024




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